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UNITED sTATEs DISTRICT COURT m 5 /l/Y/

WESTERN DISTRIC'I` OF TENNESSEE

 

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c ass u.s. atsr.du`;é
MILTON sMITH, ) W_Lb. er- Tw. maura..
)
Plaintiff, )
)
vs' ) Civil Action No.: 1:03-1233- B/P
)
CORRECTIONS CORPORATION )
0F AMERICA, et al., )
)
Defendants. )
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005.

"C’&\`K»\
JUDGE
DATED; Li !3~‘31// 6

IT lS SO ORDERED.

 

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APPROVED FOR ENTRY:

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN

37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on
April 14, 2005.

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swan Main

laines I. Pentecost (#011640)
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Attomeys for Defendants

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:03-CV-01233 Was distributed by faX, mail, or direct printing on
April 27, 2005 to the parties listed.

 

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Honorable .1. Breen
US DISTRICT COURT

